           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 1 of 13 Page ID #:110



               1   Devin A. McRae, SBN 223239
                    dmcrae@earlysullivan.com
               2   Peter Scott, SBN 247786
                    pscott@earlysullivan.com
               3   EARLY SULLIVAN WRIGHT
                    GIZER & MCRAE LLP
               4   6420 Wilshire Boulevard, 17th Floor
                   Los Angeles, California 90048
               5   Telephone: (323) 301-4660
                   Facsimile: (323) 301-4676
               6
                   Attorneys for Plaintiff
               7   WILLIAM CRABTREE
               8                       UNITED STATES DISTRICT COURT
               9                      CENTRAL DISTRICT OF CALIFORNIA
              10

              11    WILLIAM CRABTREE,                       Case No.: 2:22-cv-00180-MEMF (AFMx)
              12                       Plaintiff,
              13                 v.                         JOINT RULE 26(f) REPORT
              14    ROBERT KIRKMAN, an individual;             Sched. Conf. Date:   June 30, 2022
                    ROBERT KIRKMAN, LLC, a                     Time:                10:00 a.m.
              15    Kentucky limited liability company,        Courtroom:           8B
                    and DOES 1-10, inclusive.
              16
                                       Defendants.          Filed:        January 9, 2022
              17                                            Trial Date:   None set
              18

              19

              20

              21

              22

              23

              24

              25

              26

              27

              28



                                                JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 2 of 13 Page ID #:111



               1         Plaintiff William Crabtree (“Plaintiff”) and Defendants Robert Kirkman
               2   (“Kirkman”) and Robert Kirkman, LLC (“Kirkman LLC,” jointly with Kirkman,
               3   “Defendants”) conducted the early meeting of counsel as required under F.R.C.P.
               4   Rules 16(b) and 26(f) on June 8, 2022. Devin A. McRae and Peter D. Scott of Early
               5   Sullivan Wright Gizer & McRae LLP appeared on behalf of Plaintiff. Allen Grodsky
               6   and Tim Henderson of Grodsky, Olecki & Puritsky LLP appeared on behalf of
               7   Defendants. The parties jointly report to the Court as follows:
               8   A.    STATEMENT OF THE CASE
               9         A.     Plaintiff’s Statement Of The Case
              10         Plaintiff is an artist and colorist who was a co-author of the comic series
              11   Invincible (the “Work”), jointly with Kirkman and artist Cory Walker. As such,
              12   Plaintiff has a copyright ownership interest.      In recognition of Plaintiff’s co-
              13   authorship and co-ownership of the Work, Kirkman and Plaintiff orally agreed that
              14   Plaintiff was to receive 20% of single issue sales of the Work with a minimum of $40
              15   per page and 10% of any revenues generated from other film or television commercial
              16   exploitation of the Work together with any derivative projects based on the Work and
              17   any allied or ancillary rights in the Work.
              18         In July 2005, based on a series of false promises, false representations and
              19   material omissions, Defendants convinced Plaintiff to enter into a written “Certificate
              20   of Authorship” which post-hoc purported to classify Plaintiff’s contributions to the
              21   Work as “works made for hire.” Defendant Kirkman expressly represented to
              22   Plaintiff that this Certificate of Authorship would not change Plaintiff’s agreed upon
              23   rights and participation in the Work (including, but not limited to, co-ownership of
              24   the copyrights in the Work and any renewals and extensions thereof, and the right to
              25   receive contingent compensation generated from the exploitation of the Work and
              26   any derivative and ancillary rights in connection therewith), but that Hollywood
              27   studios and executives did not want to deal with multiple creators and that this
              28   Certificate of Authorship would make the Work far more commercially exploitable

                                                                 1
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 3 of 13 Page ID #:112



               1   for both Plaintiff and Defendant. Consistent with his representations to Plaintiff, after
               2   the execution of the Certificate of Authorship, Kirkman continued to pay proceeds to
               3   Plaintiff per his ownership interest in the Work.
               4         However, after the Work was greenlit for an episodic television series by
               5   Amazon Prime, Kirkman repudiated Plaintiff’s ownership rights in the Work,
               6   claiming that the Certificate of Authorship divested Plaintiff of all of his copyright
               7   ownership interests and that Plaintiff was not entitled to any monetary proceeds
               8   generated from the Work. Kirkman stated that his historical payments of proceeds to
               9   Plaintiff pursuant to their agreement were simply “bonuses” that he paid at his
              10   discretion.
              11         Plaintiff filed his complaint on January 9, 2022, asserting claims for
              12   declaratory relief, promissory fraud, breach of oral contract, common counts (money
              13   had and received) and accounting. The nature and relief sought by virtue of each of
              14   the claims for relief is as follows:
              15         First Claim for Relief for Declaratory Relief: Plaintiff’s First Claim for
              16   Relief for Declaratory Relief seeks a judicial declaration that Plaintiff is a joint author
              17   of the Work under 17 U.S.C. § 101 and 201(a), and is entitled to all rights and benefits
              18   of the attendant, undivided copyright interests, of the Work Invincible.
              19         Second Claim for Relief for Promissory Fraud: Plaintiff’s Second Claim
              20   for Relief for Promissory Fraud alleges that Defendants fraudulently induced Plaintiff
              21   to enter into the Certificate of Authorship, which caused harm to Plaintiff in the form
              22   of, among other things, not receiving the proper royalties owed to him pursuant to the
              23   agreement of the parties. Plaintiff also seeks punitive damages with respect to this
              24   claim for relief.
              25         Third Claim for Relief for Declaratory Relief: Plaintiff’s Third Claim for
              26   Relief for Declaratory Relief seeks a judicial declaration that the Certificate of
              27   Authorship is void ab initio and of no force or effect as having been procured through
              28   fraud. In the alternative, and to the extent the Court determines that the Certificate

                                                               2
                                                    JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 4 of 13 Page ID #:113



               1   of Authorship is a valid and enforceable agreement, Plaintiff seeks a judicial
               2   declaration with respect to the interpretation of the document and specifically that the
               3   Certificate of Authorship applies solely to Plaintiff’s ownership rights in a motion
               4   picture derived from the Work and for no other purpose.
               5         Fourth Claim for Relief for Beach of Oral Contract: Plaintiff’s Fourth
               6   Claim for Relief for Breach of Oral Contract alleges that Plaintiff and
               7   Kirkman/Kirkman LLC had an oral agreement that Plaintiff was to receive 20% of
               8   single issue sales of the Work with a minimum of $40 per page and 10% of any
               9   revenues generated from other film or television commercial exploitation of the Work
              10   together with any derivative projects based on the Work and any allied or ancillary
              11   rights in the Work. Plaintiff alleges that Defendants breached these contractual
              12   obligations by, among other things, failing to pay all monies owed to Plaintiff in
              13   accordance with these terms.
              14         Fifth Claim for Relief for Money Had and Received: Plaintiff’s Fifth Claim
              15   for Relief for Money Had and Received alleges that Defendants are indebted to
              16   Plaintiff for monies had and received by Defendants and that such amounts have not
              17   been paid.
              18         Sixth Claim for Relief for Accounting: Plaintiff’s Sixth Claim for Relief for
              19   Accounting seeks an accounting with respect to the revenues generated from
              20   Defendants’ commercial exploitation of the Work in order to determine the amounts
              21   owed to Plaintiff by virtue of Plaintiff’s co-ownership of the Work and the parties’
              22   arrangement for Plaintiff to receive contingent compensation based thereon.
              23         Based on these allegations and claims for relief, Plaintiff seeks declaratory
              24   relief from the Court, compensatory damages according to proof and punitive
              25   damages.
              26

              27

              28


                                                              3
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 5 of 13 Page ID #:114



               1         B.     Defendants’ Statement Of The Case
               2         Defendant Robert Kirkman is a comic book author and a television and film
               3   producer. Robert Kirkman, LLC is Kirkman’s loan-out company. Kirkman and
               4   artist Cory Walker co-created the comic book and graphic novel series Invincible,
               5   which was first published in January 2003. Among other things, Kirkman and
               6   Walker provided the plot, characters, dialogue, themes, sequence of events and the
               7   drawings in the Work. Indeed, the first page of the first issue of the comic book
               8   identifies Kirkman as “co-creator, writer, letterer,” and Walker as “cocreator,
               9   artist,” of Invincible, and includes the following copyright notice “© Robert
              10   Kirkman and Cory Walker, 2003.”
              11         Crabtree was not a co-author or co-creator of Invincible. Crabtree was a
              12   colorist on some issues of Invincible, and was the third person to work as the
              13   colorist on the project. He is identified as the “colorist,” not as a cocreator, on the
              14   title page of the first issue. Consistent with Crabtree’s role as a colorist, in 2005,
              15   Crabtree signed a Certificate of Authorship for Invincible, confirming that any of
              16   his contributions were a work for hire.
              17         Kirkman denies making the alleged false statements to Crabtree and never
              18   stated that Crabtree had any ownership interest in Invincible. Kirkman has paid
              19   Crabtree all he is owed for his colorist services.
              20         Kirkman and Robert Kirkman, LLC’s defenses include that Crabtree did not
              21   make a copyrightable contribution to Invincible, was never intended to be a
              22   coauthor of Invincible, did not control or direct any copyrightable expression in
              23   connection with Invincible, and signed a work-for-hire agreement. Additionally,
              24   Crabtree’s claims are barred by the applicable statutes of limitations, including 17
              25   U.S.C. § 507(b), and laches.
              26   B.    SUBJECT MATTER JURISDICTION
              27         This Court has original jurisdiction over Plaintiff’s First Claim for Relief for
              28   Declaratory Relief pursuant to 28 U.S.C. § 1338(a), which seeks a judicial

                                                               4
                                                    JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 6 of 13 Page ID #:115



               1   declaration concerning Plaintiff’s copyright ownership in the Work Invincible
               2   pursuant to 17 U.S.C. § 101, et seq.
               3         The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over
               4   Plaintiff’s Second through Sixth Claims for Relief, which are related to and which
               5   arise out of the same common nucleus of operative fact as Plaintiff’s First Claim for
               6   Relief for Declaratory Relief as to which the Court has original jurisdiction.
               7   C.    LEGAL ISSUES
               8         The following key legal issues are to be decided in this case:
               9         1.     Whether Plaintiff is a joint author of the Work Invincible under 17
              10   U.S.C. § 201(a).
              11         2.     Whether Plaintiff made a copyrightable contribution to Invincible.
              12         3.     Whether the Certificate of Authorship rendered any copyrightable
              13   contribution Plaintiff did make a work for hire.
              14         4.     Whether the Certificate of Authorship is a valid agreement.
              15         5.     Whether, if valid and enforceable, the Certificate of Authorship applies
              16   solely and exclusively to Plaintiff’s alleged ownership rights in a motion picture
              17   derived from the Work and for no other purpose.
              18         6.     Whether Plaintiff and Defendants had an oral agreement that Plaintiff
              19   was to receive 20% of single issue sales of the Work with a minimum of $40 per
              20   page and 10% of any revenues generated from other film or television commercial
              21   exploitation of the Work together with any derivative projects based on the Work
              22   and any allied or ancillary rights in the Work and whether Defendants breached that
              23   oral agreement.
              24         7.     Whether and to what extent Defendants have received monies that are
              25   owed to Plaintiff in connection with his alleged rights to and in the Work.
              26         8.     Whether Plaintiff is entitled to an accounting with respect to revenues
              27   generated from Defendants’ commercial exploitation of the Work and with respect
              28   to what amounts, if any, are owed to Plaintiff from these revenues.

                                                             5
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 7 of 13 Page ID #:116



               1         9.      Whether Plaintiff’s claims are barred by applicable statutes of
               2   limitations, including 17 U.S.C. § 507(b).
               3         10.     Whether Plaintiff’s claims are barred by the doctrine of laches.
               4         11.     Whether Plaintiff is entitled to compensatory damages as a result of the
               5   allegations in this matter.
               6         12.     Whether Plaintiff is entitled to punitive damages as a result of the
               7   allegations in this matter.
               8   D.    DAMAGES
               9         Without prejudice to recoup all appropriate damages, Plaintiff seeks both
              10   declaratory and monetary relief. With respect to the declaratory relief sought,
              11   Plaintiff seeks (1) a judicial declaration pursuant to 28 U.S.C. § 2201, et seq.
              12   declaring that Plaintiff is a joint author of the Work and holds an undivided
              13   ownership interest in the entire work for each respective title, including all
              14   contributions contained therein and (2) a judicial declaration that the Certificate of
              15   Authorship is void ab initio and of no force or effect or, in the alternative, that it
              16   applies solely to Plaintiff’s ownership rights in a motion picture derived from the
              17   Work and for no other purpose.
              18         With respect to the monetary relief sought, Plaintiff lacks sufficient
              19   information at this time to calculate an amount sought. Plaintiff seeks an
              20   accounting in this action to calculate the damages that will ultimately be sought.
              21   However, the form of monetary damages will be comprised of the proceeds owed
              22   from Defendants’ exploitation of the Work that have not been paid to Plaintiff
              23   pursuant to his copyright ownership interest in the Work. Plaintiff also seeks
              24   punitive damages in connection with his Second Claim for Relief for Fraud.
              25         Defendants do not seek damages but reserve their rights to seek attorneys’
              26   fees and costs incurred in this case, and for any further relief the Court deems just
              27   and proper.
              28


                                                               6
                                                    JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 8 of 13 Page ID #:117



               1   E.      PARTIES AND EVIDENCE
               2                 1.       Parties
               3         Plaintiff William Crabtree
               4         Defendants Kirkman LLC and Kirkman
               5         At present, Plaintiff does not anticipate the addition of any other parties.
               6                 2.       Percipient Witnesses
               7         Plaintiff
               8         Defendant Kirkman
               9         Corporate Representative of Defendant Kirkman LLC
              10         Cory Walker
              11         Kirkman’s attorney, manager and/or agent at the time of Kirkman’s
              12           solicitation of Plaintiff’s signature on the Certificate of Authorship;
              13         Other artists and creators that worked with Kirkman and who executed
              14           similar certificates of authorship at or around the time that the Certificate of
              15           Authorship at issue in this matter was signed.
              16         Financial or other professionals with sufficient knowledge to testify to the
              17           monies generated from the exploitation of the Work
              18                 3.       Key Documents
              19         Certificate of Authorship
              20         Communications between Kirkman and Plaintiff
              21         Communications between Plaintiff and third parties regarding his alleged
              22           joint authorship and co-ownership of Invincible
              23         Copies of Invincible comic books and graphic novels, including any copies in
              24           Plaintiff’s possession, custody or control
              25         Financial documentation concerning monies generated through exploitation
              26           of the Work.
              27

              28


                                                                 7
                                                     JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 9 of 13 Page ID #:118



               1   F.     INSURANCE
               2          There is insurance coverage on a D&O policy for Mr. Kirkman under a
               3   reservation of rights. A copy of that policy will be provided to counsel for Plaintiff
               4   as part of the initial disclosures. The insurer to whom Defendants have tendered
               5   coverage for Robert Kirkman, LLC has denied coverage.
               6   G.     MANUAL FOR COMPLEX LITIGATION
               7          The parties agree that this matter is not complex.
               8   H.     MOTIONS
               9          At present, and apart from any potential discovery related and/or pre-trial
              10   evidentiary motions, the parties do not anticipate filing any non-dispositive motions
              11   at this time.
              12   I.     DISPOSITIVE MOTIONS
              13          The parties anticipate filing motions for summary judgment and/or partial
              14   summary judgment.
              15   J.     STATUS OF DISCOVERY
              16          Plaintiff and Defendants have both commenced written discovery
              17   immediately following the Rule 26(f) early meeting of counsel.
              18   K.     DISCOVERY PLAN
              19                   1.   Initial Disclosures
              20          The parties have agreed to exchange initial disclosures pursuant to Rule 26(a)
              21   of the Federal Rules of Civil Procedure on or before June 22, 2022.
              22                   2.   Changes In Discovery Limitations
              23                        a.    Written Discovery
              24          The parties do not presently seek any changes to the Federal Rules of Civil
              25   Procedure or Local Rules governing written discovery. The parties do not believe
              26   that discovery should be conducted in phases.
              27

              28


                                                              8
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 10 of 13 Page ID #:119



               1                       b.     Depositions
               2         Plaintiff anticipates deposing Kirkman as well as the personal most
               3   knowledgeable on behalf of Kirkman LLC. Plaintiff also anticipates deposing
               4   additional third party witnesses, including without limitation co-creator of the Work
               5   Cory Walker, Kirkman’s attorney, manager and/or agent at the time of Kirkman’s
               6   solicitation of Plaintiff’s signature on the Certificate of Authorship, as well as other
               7   artists and creators that worked with Kirkman and who executed similar certificates
               8   of authorship at or around the time (and based on the same or similar
               9   representations Kirkman made to Plaintiff) that the Certificate of Authorship at
              10   issue in this matter was signed. Plaintiff will also require a deposition of the
              11   financial or other professional with sufficient knowledge to testify to the monies
              12   generated from the exploitation of the Work.
              13         Defendants anticipate deposing Plaintiff and others to be identified by
              14   Plaintiff in written discovery, as having knowledge of Plaintiff’s claimed joint
              15   authorship and co-ownership of Invincible.
              16                       c.     Subjects on Which Discovery is Needed
              17         Without limitation to its rights to seek discovery on any relevant issues,
              18   Plaintiff anticipates that he will require discovery into, among other things, the facts
              19   and circumstances surrounding the original creation and authorship of the Work,
              20   Defendants’ creation of and solicitation of Plaintiff’s signature on the Certificate of
              21   Authorship, the status of any negotiations with respect to the exploitation of the
              22   Work at the time the Certificate of Authorship was executed, any instances of
              23   commercial exploitation of the Work, the monies generated from any exploitation
              24   of the Work, and any financial arrangement between Defendants and Cory Walker
              25   with respect to the Work, among other things.
              26         Without limiting their rights to seek discovery, Defendants anticipate needing
              27   discovery on Plaintiff’s claimed creative contributions to Invincible, the
              28   negotiations, terms, and performance of Plaintiff’s supposed oral agreement on

                                                              9
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 11 of 13 Page ID #:120



               1   Invincible, Plaintiff’s communications regarding his supposed joint authorship and
               2   co-ownership of Invincible, Plaintiff’s possession of copies of Invincible comic
               3   books and graphic novels, payments made to Plaintiff for Invincible, the Certificate
               4   of Authorship and Plaintiff’s understanding of and communications about the
               5   Certificate of Authorship, Plaintiff’s knowledge that Kirkman did not consider him
               6   to be a joint author or co-owner of Invincible, among other things.
               7                       d.    Electronically Stored Information
               8         The parties agree on electronic document production and to discuss and seek
               9   agreement on protocols with respect to identification, review, and production of
              10   electronically stored information. Electronically stored information will be
              11   produced in PDF format, and in native format for certain, large-scale documents to
              12   facilitate use by the parties. The Parties will meet and confer regarding the scope
              13   and logistics of document production. The Parties agree that this paragraph is not
              14   intended to alter the scope of discovery in this case.
              15                       e.    Claims Of Privilege Or Protection
              16         The parties will meet and confer on a proposed a stipulated protective order
              17   governing confidential and proprietary materials that will also address the
              18   inadvertent production of privileged or otherwise protected materials.
              19   L.    EXPERT DISCOVERY
              20         Plaintiff proposes an expert discovery cut-off date of February 17, 2023.
              21         Defendants propose an expert discovery cut-off date of April 12, 2023.
              22   M.    SETTLEMENT CONFERENCE / ADR
              23         No settlement discussions have taken place. The Parties are willing to
              24   mediate this dispute through the services of a private mediator.
              25   N.    TRIAL ESTIMATE
              26         The Parties have requested a jury trial and agree that trial is expected to take
              27   no more than four days.
              28


                                                             10
                                                   JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 12 of 13 Page ID #:121



               1   O.     TRIAL COUNSEL
               2    Devin A. McRae                             Allen Grodsky
               3    Peter D. Scott                             Tim B. Henderson
                    EARLY SULLIVAN WRIGHT                      GRODSKY, OLECKI & PURITSKY LLP
               4    GIZER & McRAE LLP                          11111 Santa Monica Blvd., Ste 1070
               5    6420 Wilshire Blvd., 17th Fl.              Los Angeles, CA 90025
                    Los Angeles, CA 90048                      Trial Counsel for Defendants Robert
               6    Trial Counsel for Plaintiff William        Kirkman and Robert Kirkman, LLC
               7    Crabtree
               8
                   P.     MAGISTRATE JUDGE
               9
                          The parties do not consent to proceed before a magistrate judge for purposes
              10
                   of trial of this action.
              11
                   Q.     INDEPENDENT EXPERT OR MASTER
              12
                          The parties do not believe this is a case in which the Court should consider
              13
                   appointing a Master pursuant to Rule 53.
              14
                   R.     SCHEDULE WORKSHEET
              15
                          The completed Scheduling Conference Worksheet is appended hereto.
              16
                   S.     CLASS ACTION
              17
                          This action is not a class action.
              18
                   T.     OTHER ISSUES
              19
                          The Parties are unaware of any other unusual issues presented in this case
              20
                   that require addressal at the Scheduling Conference.
              21

              22

              23

              24

              25

              26
                   //
              27   //
                   //
              28


                                                                11
                                                    JOINT RULE 26(F) REPORT
681277.1
           Case 2:22-cv-00180-MEMF-AFM Document 24 Filed 06/15/22 Page 13 of 13 Page ID #:122



               1                                    Respectfully submitted,
               2
                   Dated: June 15, 2022             EARLY SULLIVAN WRIGHT
               3                                     GIZER & McRAE LLP
               4
                                                    By: /s/ Devin A. McRae
               5
                                                         Devin A. McRae
               6                                         Peter D. Scott
                                                         Attorneys for Plaintiff
               7                                         WILLIAM CRABTREE
               8

               9   Dated: June 15, 2022             GRODSKY, OLECKI & PURITSKY LLP

              10
                                                    By: /s/ Allen B. Grodsky
              11
                                                         Allen B. Grodsky
              12                                         Tim B. Henderson
                                                         Attorneys for Defendants
              13                                         ROBERT KIRKMAN and
                                                         ROBERT KIRKMAN, LLC
              14

              15

              16

              17

              18

              19

              20

              21

              22

              23

              24

              25

              26

              27

              28


                                                        12
                                               JOINT RULE 26(F) REPORT
681277.1
